                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


DR. JOSEPH CICCIO, et al.                     )
                                              )
        Plaintiffs,                           )
                                              )        Civil No. 3:19-cv-00845
v.                                            )
                                              )        Judge Trauger/Magistrate Judge Holmes
SMILEDIRECTCLUB, LLC, et al.                  )
                                              )        Special Master Samuel P. Funk
        Defendants.                           )

                             AMENDED SCHEDULING ORDER
        On June 18, 2021, Provider Plaintiffs filed a Motion for Extension of Time to Complete

Discovery. (Doc. 194). Defendants filed a response in opposition on July 2, 2021. (Doc. 221).

On July 6, 2021, the District Court ordered as follows:

              The Special Master who has been appointed in this case is in the best
              position to determine the appropriate length for an extension of the
              discovery deadline in this case.

                                             *     *       *

              The Special Master should feel comfortable to make his determination
              without concern to the remaining deadlines in the case, which
              undoubtedly will have to also be adjusted, based upon his decision.

(Doc. 222).

        In an Order dated July 21, 2021 and in response to Defendants’ Motion for Clarification

As To Whether the Special Master Is To Consider Revising Case Management Order (Doc. 232),

the District Court ordered that the “Special Master may revise the deadlines and stay discovery if

he determines that it is the best course of this case.” (Doc. 234).

        On August 24, 2021, the parties submitted briefs addressing the form and content of an

amended scheduling order in which all parties generally agreed that it would be appropriate and




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helpful for discovery in this matter to be bifurcated between class certification issues and those

related to the merits. (Docs. 249 and 251). On September 22, 2021, counsel for the parties

participated in a Zoom conference with the Special Master to discuss scheduling in this case.

       Based upon the foregoing, the following new deadlines will apply to this matter and

supersede those contained in the Initial Case Management Order (Doc. 116):

       1.       CLASS CERTIFICATION DISCOVERY. The parties shall complete all written

discovery and depose all fact witness regarding class certification on or before Wednesday,

March 30, 2022.1 No motions concerning discovery are to be filed until after the parties have

conferred in good faith and, unable to resolve their differences, have scheduled and participated

in a conference telephone call with the Special Master.

       2.       DISCLOSURE OF CLASS CERTIFICATION EXPERTS. Plaintiffs shall

identify and disclose all expert witnesses and expert reports on or before Friday, April 22, 2022.

Defendants shall identify and disclose all expert witnesses and reports on or before Monday,

May 30, 2022.

       3.       DEPOSITION OF CLASS CERTIFICATION EXPERTS. The parties shall

depose experts on class certification issues on or before Wednesday, June 29, 2022.

       4.       CLASS CERTIFICATION MOTIONS. Plaintiffs shall file their motion for class

certification on or before Friday, July 29, 2022. Responses to any class certification motion shall

be filed within twenty-one (21) days after the filing of the motion, on or before Friday, August

19, 2022. Optional replies may be filed within fourteen (14) days after the filing of the response,

on or before Friday, September 2, 2022. Briefs shall not exceed 20 pages.



1
 All deadlines pertain to the certification of claims by Provider Plaintiffs only. In the event a
potential Consumer class is added, the parties are encouraged to seek guidance from the Special
Master regarding these deadlines as needed.
                                                 2

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       5.      MERITS DISCOVERY STAYED. Discovery into aspects of the merits

unrelated to class certification is hereby stayed. Within twenty-one (21) days following the

District Court’s entering an Order ruling on Plaintiffs’ class certification motion, the parties shall

file a joint status report concerning the scope, need and timing of merits discovery.

       ENTERED this 13th day of October 2021.

                                                       /s/Samuel P. Funk
                                                       Samuel P. Funk
                                                       Special Master




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on October 13th, 2021, a true and correct copy of the
foregoing document was served via the Court's ECF Filing System on counsel of record, as
follows:

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                                                            /s/Samuel P. Funk




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